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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF INDIANA


 IRISH 4 REPRODUCTIVE HEALTH
 et al.,

      Plaintiffs,                                  Case No. 3:18-cv-0491-PPS-JEM

 v.

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES
 et al.,

      Defendants.



      FEDERAL DEFENDANTS’ MOTION FOR PARTIAL SUMMARY JUDGMENT

         Pursuant to Federal Rule of Civil Procedure 56, the Federal Defendants respectfully

move for summary judgment on Count III of Plaintiffs’ Second Amended Complaint to the

extent that it alleges that the Final Rules are arbitrary and capricious. In support of this Motion,

Federal Defendants respectfully refer the Court to the attached Memorandum of Points and

Authorities.



Dated: October 9, 2020                        Respectfully submitted,

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                                              Acting Assistant Attorney General

                                              /s/ Rebecca M. Kopplin _
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                                              Trial Attorney (California Bar No. 313970)
                                              JUSTIN M. SANDBERG
                                              Senior Trial Counsel
                                              MICHAEL GERARDI
                                              CHRISTOPHER R. HEALY
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                               CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of Federal Defendants’ Motion for Partial

Summary Judgment and supporting memorandum was served on counsel for all parties using the

Court’s CM/ECF system on October 9, 2020.



                                            /s/ Rebecca M Kopplin_____
                                            REBECCA M. KOPPLIN
                                            Counsel for Federal Defendants
